                Case 17-12560-KJC    Doc 3068-3   Filed 11/27/18   Page 1 of 12



                                        EXHIBIT B

                                    BROKER AGREEMENT




01:23899948.1
DocuSign Envelope ID: 0AEECAE4-AA7B-4C1C-8C2D-EFD8DED0FAFC
                                      Case 17-12560-KJC                      Doc 3068-3   Filed 11/27/18      Page 2 of 12




               X                                                                                                           03/28/2018
                                                 DOUBLELEAF INVESTMENTS LLC




                                                           Douglas Elliman                                      01947727

                                                                                     01907904                              03/28/2018
                                                                   Max Hutchison




    El Camino, 150 El Camino Dr Suite 150 Beverly Hills CA 90212                                     (310) 595-3888         (310) 861-1395   4030 Madelia Ave
    Max Hutchison
DocuSign Envelope ID: 0AEECAE4-AA7B-4C1C-8C2D-EFD8DED0FAFC
                        Case 17-12560-KJC          Doc 3068-3   Filed 11/27/18   Page 3 of 12




                                                                                                4030 Madelia Ave
DocuSign Envelope ID: 0AEECAE4-AA7B-4C1C-8C2D-EFD8DED0FAFC
                                      Case 17-12560-KJC                      Doc 3068-3   Filed 11/27/18         Page 4 of 12




                           March 28, 2018

                                                                                   DOUBLELEAF INVESTMENTS LLC
                                                                                    Douglas Elliman
                               March 28, 2018                                                         June 30, 2018
                                                            X
                                                                    Sherman Oaks                          Los Angeles
                               2276034028                                                    4030 Madelia Ave




                                                     One Million, Five Hundred Ninety-Five Thousand
                                                                                                                         1,595,000.00
                                            This listing agreement is subject to bankruptcy court approval.




                                                                                                                           X     5.000




                                                                X    2.500




    El Camino, 150 El Camino Dr Suite 150 Beverly Hills CA 90212                                        (310) 595-3888    (310) 861-1395   4030 Madelia Ave
    Max Hutchison
DocuSign Envelope ID: 0AEECAE4-AA7B-4C1C-8C2D-EFD8DED0FAFC
                        Case 17-12560-KJC          Doc 3068-3   Filed 11/27/18   Page 5 of 12
                  4030 Madelia Ave
                  Sherman Oaks, CA 91403-4625                                                   March 28, 2018

                                           claw




                                                                                                 4030 Madelia Ave
DocuSign Envelope ID: 0AEECAE4-AA7B-4C1C-8C2D-EFD8DED0FAFC
                        Case 17-12560-KJC          Doc 3068-3   Filed 11/27/18   Page 6 of 12
                  4030 Madelia Ave
                  Sherman Oaks, CA 91403-4625                                                   March 28, 2018




                                                                                                 4030 Madelia Ave
DocuSign Envelope ID: 0AEECAE4-AA7B-4C1C-8C2D-EFD8DED0FAFC
                        Case 17-12560-KJC           Doc 3068-3       Filed 11/27/18         Page 7 of 12
                  4030 Madelia Ave
                  Sherman Oaks, CA 91403-4625                                                              March 28, 2018
                                            Sale is subject to bankruptcy court approval.




    X




                                                                           DOUBLELEAF INVESTMENTS LLC                  03/27/2018




                                                                                                            4030 Madelia Ave
DocuSign Envelope ID: 0AEECAE4-AA7B-4C1C-8C2D-EFD8DED0FAFC
                        Case 17-12560-KJC          Doc 3068-3   Filed 11/27/18   Page 8 of 12
                  4030 Madelia Ave
                  Sherman Oaks, CA 91403-4625                                                   March 28, 2018




                           Douglas Elliman                                                        01947727


                                                                                   01907904                  03/28/2018
      Max Hutchison




                                                                                                 4030 Madelia Ave
DocuSign Envelope ID: 0AEECAE4-AA7B-4C1C-8C2D-EFD8DED0FAFC
                                      Case 17-12560-KJC                      Doc 3068-3   Filed 11/27/18       Page 9 of 12




                                                                                X
                                                                                                                       03/28/2018
                                                                                   4030 Madelia Ave
                                                                     Douglas Elliman                                                    X
                                                                   DOUBLELEAF INVESTMENTS LLC




           X                                                             X




                                                                                                                                03/28/2018

                                                   Frederick Chin




                             Douglas Elliman
                                                                                                                                03/28/2018




    El Camino, 150 El Camino Dr Suite 150 Beverly Hills CA 90212                                      (310) 595-3888         (310) 861-1395   4030 Madelia Ave
    Max Hutchison
DocuSign Envelope ID: 0AEECAE4-AA7B-4C1C-8C2D-EFD8DED0FAFC
                                    Case 17-12560-KJC                      Doc 3068-3      Filed 11/27/18        Page 10 of 12




                                                                   X
              03/28/2018                                                           4030 Madelia Ave, Sherman Oaks, CA 91403-4625
                                                                       DOUBLELEAF INVESTMENTS LLC
                                                                       Douglas Elliman

                                                                                                                   CLAW




                 X



                                                                                               DOUBLELEAF INVESTMENTS LLC                  03/28/2018




                                                                                 Douglas Elliman                                           01947727




    El Camino, 150 El Camino Dr Suite 150 Beverly Hills CA 90212                                         (310) 595-3888   (310) 861-1395   4030 Madelia Ave
    Max Hutchison
DocuSign Envelope ID: 4B8EE599-D60B-4AB0-BCAF-DF00D49A5103
                                    Case 17-12560-KJC               Doc 3068-3        Filed 11/27/18      Page 11 of 12




           X
               March 28, 2018                                                        Douglas Elliman
                                                     DOUBLELEAF INVESTMENTS LLC ,
                                                                      4030 Madelia Ave, Sherman Oaks, CA 91403-4625




                                                                       July 4, 2018



    1a.) New Listing Agreement Date begins 4/7/18
    1b.) Listing shall be included in MLS beginning on this date.




           April 7, 2018



                 DOUBLELEAF INVESTMENTS LLC

               Douglas Elliman                                                             01947727                                 04/07/2018

                                                                                           01907904                                 04/07/2018

        Max Hutchison




    El Camino, 150 El Camino Dr Suite 150 Beverly Hills CA 90212                                  (310) 595-3888   (310) 861-1395    4030 Madelia Ave
    Max Hutchison
DocuSign Envelope ID: 4572DB6D-7EB3-4649-9F61-558F25A43EC4
                                    Case 17-12560-KJC               Doc 3068-3     Filed 11/27/18        Page 12 of 12




           X
               March 28, 2018                                                        Douglas Elliman
                                                     DOUBLELEAF INVESTMENTS LLC ,
                                                                      4030 Madelia Ave, Sherman Oaks, CA 91403-4625




    One Million, Three Hundred Ninety-Nine Thousand
                                                                                                                  1,399,000.00




           May 23, 2018                                                                             Los Angeles



                 DOUBLELEAF INVESTMENTS LLC

               Douglas Elliman                                                           01947727                                       05/23/2018

                                                                                         01907904                                       05/23/2018

        Max Hutchison




    El Camino, 150 El Camino Dr Suite 150 Beverly Hills CA 90212                                 (310) 595-3888        (310) 861-1395    4030 Madelia Ave
    Max Hutchison
